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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


CHRISTINA MCMILLAN,

      Plaintiff,                           Case Number:

                                           Honorable
v.

EXPERIAN INFORMATION
SOLUTIONS, INC. and
ARBOR PROFESSIONAL
SOLUTIONS INC.,

       Defendants.
__________________________________________________________________/
CHAMI LAW, PLLC
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              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Christina McMillan, ("McMillan"), by and through her attorney,

brings this action for damages against Defendants Experian Information Solutions

Inc. (“Experian”) and Arbor Professional Solutions Inc. (“APS”), (collectively,

“Defendants”), alleging violations of the Fair Credit Reporting Act (“FCRA”), 15

U.S.C. § 1681 et seq.
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                           JURISDICTION AND VENUE

1.     This Court has federal question jurisdiction because this action arises out of

violations of federal law. 28 U.S.C. §§ 1331. Jurisdiction is also proper pursuant to

15 U.S.C. 1681p (FCRA) (permitting actions to enforce liability in an appropriate

United States District Court).

2.     Venue in the United States District Court for the Eastern District of Michigan

is proper because Ms. McMillan resides in this District, Defendants regularly

transact business within this District and are otherwise subject to personal

jurisdiction in this District, and a substantial part of the events or omissions giving

rise to this action occurred in this District.

                                       PARTIES

3.     Ms. McMillan incorporates herein by reference all of the above paragraphs of

this Complaint as though fully set forth at length herein.

4.     During all time relevant to this Complaint, Ms. McMillan was a resident of

Wayne County, State of Michigan.

5.     Defendant Experian is a corporation organized under the laws of the State of

Texas. Experian can be served with process through its registered agent: The

Corporation Company, 40600 Ann Arbor Rd. E STE 201, Plymouth, MI 48170.
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6.    Defendant APS is a corporation organized under the laws of the State of

Michigan. APS can be served with process through its registered agent: Robert J.

Barden, at 2090 South Main St., Ann Arbor, MI 48103.

7.    During all times pertinent to this Complaint, Defendants were authorized to

conduct business in the State of Michigan and conducted business in Michigan on a

routine and systematic basis.

8.    Defendants are a “consumer reporting agency,” as defined by 15 U.S.C.

§1681a(f) of the FCRA. During all times pertinent to this Complaint, Experian and

APS regularly furnished consumer reports to third parties for monetary

compensation, fees and other dues.

9.    During all times pertinent to this Complaint, Defendants acted through

authorized agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.

10.   Any violations by Defendants as set forth in this Complaint were not in good

faith, knowing, willful, and intentional, and Defendants did not maintain procedures

reasonably adopted to avoid any such violation.

11.   Plaintiff alleges negligent and willful violations of the FCRA against each

Defendant.

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                          FACTUAL ALLEGATIONS

12.   Plaintiff subscribes to Credit Karma, a credit monitoring service.

13.   In late 2017, Plaintiff was reviewing her credit reports online with Credit

Karma and discovered multiple open collection accounts with Russell Collection

Agency (“Russell”) and Arbor Professional Solutions, Inc. (“Arbor”), reporting

unpaid balances.

14.   Plaintiff further discovered that the original creditor for the Arbor accounts

was the “City of Riverview.” Ms. McMillan has never lived in the City of Riverview,

nor does she have any association in Riverview, however, an incorrect address in

Riverview is being reported.

15.   In or around January 2018, Plaintiff submitted an online dispute through

Credit Karma, disputing the accounts and incorrect address with Equifax

Information Services, LLC (“Equifax”) and Trans Union, LLC (“TransUnion”).

16.   Plaintiff subsequently received a response from TransUnion and Equifax.

TransUnion updated her credit report and the accounts and address were fixed.

Equifax continued to report the incorrect information.

17.   Plaintiff later learned that Defendant Experian was also reporting inaccurate

information on her credit report, which prompted her to pull her credit report.

18.   On or about May 15, 2018, Plaintiff received a credit report from Defendant

Experian and found three (3) Arbor accounts incorrectly reporting on her credit.
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19.   Plaintiff further discovered an improper Riverview, Michigan address and a

variation of her first name, “Christine” that Plaintiff has never used.

20.   On or about June 19, 2018, Plaintiff sent a certified letter to Defendant

Experian disputing the Arbor collection accounts and the Riverview address.

21.   On or about June 19, 2018, Plaintiff sent a certified letter to Equifax disputing

the Russell accounts, Arbor accounts, and the Riverview address.

22.   On or about July 20, 2018, Plaintiff received a response from Equifax where

they updated her credit report and removed the inaccurate collection accounts.

23.   On or about July 23, 2018, Ms. McMillan received a response from Experian

indicating that the Account was reporting correctly, and the Arbor accounts

remained on her report, along with the improper Riverview address.

24.   Defendant Experian’s actions have caused Ms. McMillan to suffer an injury

in fact where Defendant invaded her privacy, maintained and published inaccurate

and harmful information about her. At a minimum, Defendants failed to us

reasonable procedures to assure maximum possible accuracy.

25.   Defendant Experian’s actions have caused Ms. McMillan to suffer actual

damages, including loss of credit opportunity, denial of credit, increased finance

charges, increased insurance premiums, emotional distress, mental anguish, and

embarrassment.

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                            COUNT I
      EXPERIAN’S VIOLATION OF FAIR CREDIT REPORTING ACT,
                      15 U.S.C. § 1681 et seq.

26.    Plaintiff incorporates herein by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

27.    The Fair Credit Reporting Act provides that if the completeness or accuracy

of any item of information contained in a consumer's file at a consumer reporting

agency is disputed by the consumer and the consumer notifies the agency directly of

such dispute, the agency shall conduct a reasonable reinvestigation to determine

whether the disputed information is inaccurate or delete the item from the file within

thirty (30) days of receiving the consumer's dispute notice. 15 U.S.C. §

1681i(a)(l)(A).

28.    The Act further requires the credit reporting agency, within 5 business days

of receiving notice of the consumer's dispute, to provide notification of the dispute

to the person who furnished the information in dispute and requires the credit

reporting agency to "include all relevant information regarding the dispute that the

agency received from the consumer." 15 U.S.C. § 1681i(a)(2)(A). In conducting its

reinvestigation of disputed information in a consumer report, the credit reporting

agency is required to "review and consider all relevant information submitted by the

consumer."
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29.   Within the last wo years preceding the filing of this complaint, Plaintiff

notified Defendant Experian of an inaccuracy contained in her credit report and

asked them to correct the inaccuracy.

30.   Defendant Experian failed to conduct a reasonable reinvestigation of the

inaccuracy that Plaintiff disputed.

31.   Defendant Experian failed to review and consider all relevant information

submitted by Plaintiff.

32.   Defendant Experian failed to employ and follow reasonable procedures to

assure maximum possible accuracy of Plaintiff’s credit reports, information, and file,

in violation of 15 U.S.C. § 1681e(b).

33.   As a result of the above-described violations of § 1681i and § 1681e(b),

Plaintiff has sustained damages.

34.   Defendant Experian’s violations of the FCRA were willful and therefore

Plaintiff is entitled to seek statutory and punitive damages.

35.   Plaintiff is entitled to recover statutory damages up to $1,000.00, punitive

damages, costs, and attorney’s fees from the Defendants in an amount to be

determined by the Court pursuant to § 1681n.

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                           COUNT TWO
         APS’S VIOLATION OF FAIR CREDIT REPORTING ACT,
                       15 U.S.C. § 1681 et seq.

36.   Plaintiff incorporates herein by reference all of the above paragraphs of this

complaint as though fully set forth herein at length.

37.   The FCRA requires a furnisher such as Defendant APS, after receiving notice

from a credit reporting agency that a consumer disputes information that is being

reported by that furnisher, to conduct an investigation with respect to the disputed

information, to review all relevant information, to report the results of the

investigation to the credit reporting agency, and, if the investigation reveals that the

information is incomplete or inaccurate, to report those results to all other credit

reporting agencies to which the furnisher has provided the inaccurate information.

38.   Within the last two years, Defendant APS provided inaccurate information to

the credit reporting agencies.

39.   Within the past two years, Plaintiff notified all the credit reporting agencies,

including Defendant Experian, that their reports concerning Defendant APS was

inaccurate. Thereafter, the credit reporting agencies notified Defendant APS that

Plaintiff was disputing the information it had furnished to the credit reporting

agencies.

40.   Defendant APS violated sections 1681n and 1681o of the FCRA by engaging

in the following conduct that violates 15 U.S.C. § 1681s-2(b):
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 a. Willfully and negligently failing to conduct an investigation of the inaccurate

    information that Plaintiff disputed;

 b. Willfully and negligently failing to review all relevant information concerning

    Plaintiff’s account provided to APS.;

 c. Willfully and negligently failing to report the results of investigations to the

    relevant consumer reporting agencies;

 d. Willfully and negligently failing to report the inaccurate status of the

    inaccurate information to all credit reporting agencies;

 e. Willfully and negligently failing to properly participate, investigate and

    comply with the reinvestigations that were conducted by any and all the credit

    reporting agencies concerning the inaccurate information disputed by Plaintiff;

 f. Willfully and negligently continuing to furnish and disseminate inaccurate and

    derogatory credit, account and other information concerning the Plaintiff to the

    credit reporting agencies;

 g. Willfully and negligently continuing to furnish and disseminate inaccurate and

    derogatory credit, account and other information concerning Plaintiff’s

    account to the credit reporting agencies; and

 h. Willfully and negligently failing to comply with the requirements imposed on

    furnishers of information pursuant to 15 U.S.C. §1681s-2(b).
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41.      Defendant APS’s conduct was a direct and proximate cause, as well as a

substantial factor, in causing the serious injuries, damages and harm to Plaintiff that

are outlined more fully above, and as a result, Defendant is liable to compensate

Plaintiff for the full amount of statutory, actual and punitive damages, along with

attorneys’ fees and costs, as well as other such relief, permitted by 15 U.S.C. §

1681n.

                               PRAYER FOR RELIEF

         WHEREFORE, Ms. McMillan respectfully requests that this Honorable Court

enter judgment against Defendants for the following:

Fair Credit Reporting Act Violations

      (a) Actual and statutory damages pursuant to 15 U.S.C. § 1681n(a)(1) and §

         1681o(a)(1);

      (b) Punitive damages as the Court may allow pursuant to 15 U.S.C. §§

         1681n(a)(2);

      (c) Costs and reasonable attorney fees pursuant to 15 U.S.C § 1681n(a)(3) and §

         1681o(a)(1);

      (d) Such other and further relief as this Honorable Court may deem just and

         proper, including pre-judgment and post-judgment interest.

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                          DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands a trial by jury in this action.



                                               Respectfully submitted,

                                               CHAMI LAW, PLLC

Dated: September 11, 2018                      By: /s/ Tarek N. Chami
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